                                 IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                          WESTERN DIVISION
                                         CASE NO. 5:19-cv-319-BO

ANTHONY THOMPSON,                                    )
                                    Plaintiff,       )
                                                     )
v.                                                   )         ORDER FOR DISCOVERY PLAN
                                                     )
BRANDWAY SERVICES, LLC, et al.,                      )
                        Defendants.                  )
                                                     )

        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure, the Court will enter a scheduling order in this
case. The Rule 26(f) meeting must occur by 11/1/2019. The attorneys of record and all unrepresented parties that
have appeared in the case are jointly responsible for arranging the conference and for attempting in good faith to
agree on the proposed discovery plan. The discovery plan must be submitted to the Court within fourteen (14)
days after the 26(f) meeting.

        Please confer with opposing counsel and present to the Court a discovery plan in accordance with the Rule 26
Report of the Parties’ Planning Meeting form, available on the district’s website. Pursuant to Rule 16(b), the
planning meeting required by Fed. R. Civ. P. 26(f) and the discovery plan contemplated by this request are a
mandatory part of the process of formulating a scheduling order. If counsel cannot agree on a discovery plan, please
submit your respective positions to the Clerk of Court, and the Court will resolve the disputed issues. Following
court approval, modifications of the scheduling order will be allowed only by motion and for good cause shown.

         Mandatory initial disclosures must be made within fourteen (14) days after the Rule 26(f) conference
unless (1) a different time is set by stipulation of parties or court order, or (2) a party objects during the 26(f)
conference and states the objection and the response thereto in the discovery plan. Absent a stipulation or court
order, any party first served or otherwise joined after the 26(f) conference must make these disclosures within thirty
(30) days after being served or joined. Failure to disclose information required by Rule 26(a) or 26(e)(1) may
subject the offending party or parties to sanctions pursuant to Rule 37, Fed. R. Civ. P.

         Note that Local Rule 7.1 requires that all motions (except those relating to the admissibility of evidence at
trial) must be filed within 30 days after the conclusion of discovery. Untimely motions may be summarily denied.
Also, note that cases are currently being docketed for trial 60 to 90 days after discovery expires with a final pretrial
conference scheduled approximately two weeks prior to trial.

        This district now mandates mediation, pursuant to Local ADR Rule 101, for civil cases in specified
categories. Refer to Local ADR Rule 101.1a and other relevant rules to determine the applicability of the
mediation requirement to this case. The parties in cases subject to mandatory mediation must discuss
mediation plans at the 26(f) conference and report their plans in the discovery plan, pursuant to Local ADR
Rule 101.1a(b).

        SO ORDERED this the 2nd day of October, 2019.

                                                                    /s/ Peter A. Moore, Jr.
                                                                         Clerk of Court




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